USDC IN/ND case 2:08-cr-00214-JTM-APR             document 529      filed 07/19/13   page 1 of 1


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                    v.                      )     No. 2:08 CR 214
                                            )
DWAYNE CRAWFORD                             )

                         ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate Judge

(DE # 495), to which the defendant has waived objection, and subject to this court’s

consideration of the Plea Agreement pursuant to FED. R. CRIM. P. 11(c)(3), the plea of guilty to

the offenses charged in Count 1 and Count 49 of the Indictment is hereby accepted, and

defendant is adjudged guilty of those offenses.

                                            SO ORDERED.

      Date: July 19, 2013

                                            s/James T. Moody
                                            JUDGE JAMES T. MOODY
                                            UNITED STATES DISTRICT COURT
